           Case 2:08-cr-00294-WBS Document 67 Filed 11/20/09 Page 1 of 10


 1          LAW OFFICES OF
           WING & PARISI
 2   A PROFESSIONAL CORPORATION
          1101 E STREET
 3    SACRAMENTO, CA 95814
                      441-4888
                 State Bar #063214
 4

 5   ATTORNEYS FOR:            Defendant Martinson
 6

 7

 8                                    IN THE UNITED STATES DISTRICT COURT

 9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA                          No.   Cr. S-08-294 EJG
11

12                                      Plaintiff,     STIPULATION AND ORDER
                                                       CONTINUING STATUS HEARING
13          v.                                         FROM NOVEMBER 20, 2009 TO
                                                       DECEMBER 18, 2009
14
     ROBERT MARTINSON, ET. AL.
                    Defendants,                        EXCLUSION OF TIME 18 USC
15
                                                       §3161(h)(8)(B)(iv), Local Code T4
16

17
             Plaintiff, United States of America, by its counsel, Assistant United States
18
19   Attorney Russell Carlberg , and defendants ROBERT MARTINSON, by his attorney,

20   Christopher H. Wing, SHERYL HAYDEN, by her attorney Jar Greiner, KATHLEEN
21
     DELAPP, by her attorney William Portanova, MELISSA VILLEGAS, by her attorney
22

23   Bruce Locke and RICK VILLEGAS, by his attorney Tim Warriner, hereby stipulate
24   and agree that the status conference calendared for November 20, 2009 at 10:00 a.m.
25
     before the Honorable Senior United States District Court Judge, Edward J. Garcia,
26

27   may be continued to December 18, 2009, at 10:00 a.m., for a further Status Hearing,
28   and setting of a trial date if the case has not been resolved.
     ///
                                                        1
                        Case 2:08-cr-00294-WBS Document 67 Filed 11/20/09 Page 2 of 10


              1           While the defendants and their attorneys continue to review and investigate the
              2
                  several thousand pages of discovery provided previously and to review and
              3

              4   incorporate documents that have been found through their investigations, one of the

              5   defendant’s counsel has a medical issue with a family member who resides out of state
              6
                  and is unable to be in Court on the date now scheduled for the Status Conference.
              7

              8   Further, other transactions that are outside the scope of the Indictment have been
              9   discovered and more investigation and research is required to determine their
            10
                  relevance to the case. Additionally, some defendants have provided the government
            11

            12    with other relevant documents which are under review. Finally, some counsel have
            13    been negotiating with the government in an attempt to resolve the case and as there are
            14
                  several transactions and issues involved in the case, this has taken more time than
            15

            16    anticipated. The parties believe that by the date of the next Status Conference that we
            17    are suggesting, we will be able to discuss motions, trial dates and some possible
            18
                  settlements.
            19

            20            Based upon these factors, the parties stipulate and agree that time under the
            21
                  Speedy Trial Act shall continue to be excluded to December 18, 2009 at 10:00 a.m.
            22
                  pursuant to Title 18 U.S.C. §3161(h)(8)(B)(iv), Local Code T-4 – for time for the
            23

            24    defense counsel to prepare.
            25
                                                               //
            26
                                                               //
            27

            28                                                 //
LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
                                                                    2
                        Case 2:08-cr-00294-WBS Document 67 Filed 11/20/09 Page 3 of 10


              1           The date has been confirmed with the Court’s courtroom deputy, Ms. Colleen
              2
                  Lydon.
              3

              4           Dated: November 17, 2009

              5                                                     Respectfully Submitted
              6

              7

              8                                         /s/ Christopher H. Wing by e-mail authorization
              9                                         ______________________________________
            10                                          Christopher H. Wing
                                                        Attorney for Robert Martinson
            11

            12

            13            Dated: November 17, 2009
                                                        McGregor W. Scott
            14                                          United States Attorney
            15

            16                                          /s/ Russell Carlberg by e-mail authorization
            17                                          ____________________________________
                                                        Russell Carlberg
            18                                          Assistant U.S. Attorney
            19
                          Dated: November 17, 2009
            20                                          /s/ James R. Greiner by e-mail authorization
            21                                          ___________________________________
                                                        James R. Greiner
            22                                          Attorney for Sheryl Haden
            23

            24            Dated: November 17, 2009
            25
                                                        /s/ William Portanova by e-mail authorization
            26                                          ____________________________________
            27                                          William Portanova
                                                        Attorney for Kathleen Delapp
            28
LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
                                                              3
                        Case 2:08-cr-00294-WBS Document 67 Filed 11/20/09 Page 4 of 10


              1

              2           Dated: November 17, 2009

              3                                            /s/ Bruce Locke by e-mail authorization
              4                                            ____________________________________
                                                           Bruce Locke
              5                                            Attorney for Melissa Villegas
              6

              7           Dated: November 17, 2009
              8

              9                                            /s/ Tim Warriner by e-mail authorization
            10                                             _____________________________________
                                                           Tim Warriner by e-mail authorization
            11

            12

            13                                   [PROPOSED] ORDER
            14            This matter having come on before me pursuant to the stipulation of the
            15    parties and good cause appearing therefore,
            16            IT IS ORDERED THAT: the Hearing now set for November 20, 2009 at
            17    10:00 a.m., is vacated and the matter set for a status conference on, December 18,
            18    2009, at 10:00 am.
            19            Further, the Court finds that the defendants' need for additional time to
            20    prepare exceeds the public interest in a trial within 70 days and, therefore, the
            21    interests of justice warrant a further exclusion of time until the hearing on
            22    December 18, 2009.
            23                                               //
            24                                               //
            25                                               //
            26                                               //
            27                                               //
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LAW OFFICES OF
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SACRAMENTO, CA.   ///
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                        Case 2:08-cr-00294-WBS Document 67 Filed 11/20/09 Page 5 of 10


              1

              2            Based upon this finding and the representations of the parties, the Court
              3   excludes time from October 2, 2009, pursuant to the Speedy Trial Act, 18 U.S.C. §
              4   3161(h)(8)(B)(iv), Local Code T4 (time to allow sufficient time for counsel to
              5   prepare), until the next appearance on December 18, 2009 at 10:00 a.m. or by
              6   further order of this Court.
              7

              8

              9           Dated: November 18, 2009
            10

            11
                                                           /s/ Edward J. Garcia
            12                                             SENIOR U.S. DISTRICT COURT JUDGE
            13

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            11

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            13            Dated: November 17, 2009
                                                        McGregor W. Scott
            14                                          United States Attorney
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            16                                          /s/ Russell Carlberg by e-mail authorization
            17                                          ____________________________________
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            26                                          ____________________________________
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                        Case 2:08-cr-00294-WBS Document 67 Filed 11/20/09 Page 9 of 10


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              2           Dated: November 17, 2009

              3                                            /s/ Bruce Locke by e-mail authorization
              4                                            ____________________________________
                                                           Bruce Locke
              5                                            Attorney for Melissa Villegas
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            11
                                                           /s/ Edward J. Garcia
            12                                             SENIOR U.S. DISTRICT COURT JUDGE
            13

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LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
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